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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
________________________________________________________________

UNITED STATES OF AMERICA,     )
                              )
     Plaintiff,               )
                              )
v.                            )    CR. NO. 20-20148-SHL
                              )
KATRINA ROBINSON,             )
                              )
     Defendant.               )
________________________________________________________________



Members of the Jury:



     It is now my duty to instruct you on the rules of law that you

must follow and apply in deciding this case.          When I have finished

and after closing arguments, you will go to the jury room and begin

your discussions -- what we call your deliberations.



     I will start by explaining your duties and the general rules

that apply in every criminal case.



     Then I will explain some rules that you must use in evaluating

particular testimony and evidence in this case.



     Then I will explain the elements, or parts, of the crimes that

the defendant is accused of committing.
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     And last, I will explain the rules that you must follow during

your deliberations in the jury room, and the possible verdicts that

you may return.



     Please listen very carefully to everything I say.




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                                                          (1.01–.06, 8.09–.10)
                                                            General Principles


     First, as for your duties and the general rules that apply in

every criminal case.



     It will be your duty to decide whether the government has proved

beyond a reasonable doubt the specific facts necessary to find the

defendant guilty of the crimes charged in the indictment.



     You must make your decision only on the basis of the testimony

and other evidence presented here during the trial; and you must not

be influenced in any way by either sympathy or prejudice for or

against the defendant or the government.




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     You must follow the law as I explain it to you whether you agree

with that law or not; and you must follow all of my instructions as a

whole.   You may not single out, or disregard, any of the Court's

instructions on the law.



     The indictment or formal charge against the defendant is not

evidence of guilt.     Indeed, the defendant is presumed by the law to

be innocent.    The law does not require the defendant to prove her

innocence or produce any evidence at all.         The government has the

burden of proving the defendant guilty beyond a reasonable doubt as

to the charges in the indictment, and, if it fails to do so, you must

find the defendant not guilty as to that charge.




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     While the government's burden of proof is a strict or heavy

burden, it is not necessary that a defendant's guilt be proved beyond

all possible doubt.     It is only required that the government's proof

exclude any "reasonable doubt" concerning a defendant's guilt.



     A "reasonable doubt" is a real doubt, based upon reason and

common sense after careful and impartial consideration of all the

evidence in the case.



     Proof beyond a reasonable doubt, therefore, is proof of such a

convincing character that you would be willing to rely and act upon

it without hesitation in the most important of your own affairs.                If

you are convinced that the defendant has been proved guilty beyond a

reasonable doubt, say so.      If you are not convinced, say so.




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     In your deliberations, you may only consider the evidence that I

have admitted in the case.       The term "evidence" includes the

testimony of the witnesses and the exhibits admitted in the record.

Remember that what the lawyers say is not evidence in the case.             It

is your own recollection and interpretation of the evidence that

controls.   What the lawyers say is not binding upon you.



     In considering the evidence you may make deductions and reach

conclusions which reason and common sense lead you to make; and you

should not be concerned about whether the evidence is direct or

circumstantial.     "Direct evidence" is the testimony of one who

asserts actual knowledge of a fact, such as an eye witness.

"Circumstantial evidence" is proof of a chain of facts and

circumstances indicating that the defendant is either guilty or not

guilty.   The law makes no distinction between direct and

circumstantial evidence.




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     Also you should not assume from anything I may have said or done

that I have an opinion concerning any of the issues before you in

this case.    Except for my instructions to you, you should disregard

anything I may have said in arriving at your own decision concerning

the facts.



     If you have taken notes, please remember that your notes are not

evidence.    You should keep your notes to yourself.         They can only be

used to help refresh your personal recollection of the evidence in

the case.



     If you cannot recall a particular piece of evidence, you should

not be overly influenced by the fact that someone else on the jury

appears to have a note regarding that evidence.          Remember, it is your

recollection and the collective recollection of all of you upon which

you should rely in deciding the facts in this case.




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     During your deliberations, you must not communicate with or

provide any information to anyone by any means about this case.

You may not use any electronic device or media, such as a telephone,

cell phone or smart phone, or computer, the Internet, any Internet

service, or any text or instant messaging service, any Internet chat

room, blog, or website, to communicate to anyone any information

about this case or to conduct any research about this case until I

accept your verdict. In other words, you cannot talk to anyone on the

phone, correspond with anyone, or electronically communicate with

anyone about this case. You can only discuss the case in the jury

room with your fellow jurors during deliberations when all jurors are

present. I expect you will inform me if you become aware of another

juror’s violation of these instructions.



     You may not use these electronic means to investigate or

communicate about the case because it’s important that you decide

this case based solely on the evidence presented in this courtroom.

Information on the Internet or available through social media might

be wrong, incomplete or inaccurate.         You are only permitted to

discuss the case with your fellow jurors during deliberations because

they have seen and heard the same evidence you have.              In our judicial

system, it’s important that you are not influenced by anything or

anyone outside of this courtroom.        Otherwise, your decision may be

based on information known only by you and not your fellow jurors or



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the Parties in the case.      This would unfairly and adversely impact

the judicial process.      A juror who violates these restrictions

jeopardizes the fairness of these proceedings, and a mistrial could

result, which would require the entire trial process to start over

again.



     It is important that you decide this case based solely on the

evidence presented in this courtroom.




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                                                                 (1.07, .08)
                                         Number of Witnesses and Credibility


      Now, in saying that you must consider all of the evidence, I do

not mean that you must accept all of the evidence as true or

accurate.    You should decide whether you believe what each witness

had to say, and how important that testimony was.           In making that

decision you may believe or disbelieve any witness, in whole or in

part.   Also, the number of witnesses testifying concerning a

particular dispute is not controlling.         You may decide that the

testimony of a smaller number of witnesses concerning a fact in

dispute is more believable than the testimony of a larger number of

witnesses to the contrary.



      In deciding whether you believe or do not believe any witness, I

suggest that you ask yourself a few questions: Did the person impress

you as one who was telling the truth?         Did he or she have any

particular reason not to tell the truth?         Did he or she have a

personal interest in the outcome of the case?          Did the witness seem

to have a good memory?      Did the witness have the opportunity and

ability to observe accurately the things he or she testified about?

Did he or she appear to understand the questions clearly and answer

them directly?     Did the witness's testimony differ from the testimony

of other witnesses?




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      You should also ask yourself whether there was evidence tending

to prove that the witness testified falsely concerning some important

fact; or whether there was evidence that at some other time the

witness said or did something, or failed to say or do something,

which was different from the testimony he or she gave before you

during the trial.



      You should keep in mind, of course, that a simple mistake by a

witness does not necessarily mean that the witness was not telling

the truth as he or she remembers it, because people naturally tend to

forget some things or remember other things inaccurately.             So, if a

witness has made a misstatement, you need to consider whether that

misstatement was simply an innocent lapse of memory or an intentional

falsehood; and that may depend on whether it has to do with an

important fact or with only an unimportant detail.




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                                                                         (1.09)
                                                            Lawyers’ Objections


      There is one more general subject that I want to talk to you

about before I begin explaining the elements of the crime charged.



      The lawyers for both sides objected to some of the things that

were said or done during the trial.          Do not hold that against either

side.   The lawyers have a duty to object whenever they think that

something is not permitted by the rules of evidence.               Those rules are

designed to make sure that both sides have a fair trial.



      And do not interpret my rulings on their objections as any

indication of how I think the case should be decided.              My rulings

were based on the rules of evidence, not on how I feel about the

case.   Remember that your decision must be based only on the evidence

that you saw and heard in court.




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                                                                           (7.01)
                                                                     Introduction


      That concludes my explanations of your duties and the general

rules that apply in every criminal case.         Next I will explain some

rules that you must use in considering some of the testimony and

evidence in this case.




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                                                                    (2.01A)
                                   Separate Consideration--Single Defendant
                                               Charged with Multiple Crimes




      The defendant has been charged with several crimes.            The number

of charges is no evidence of guilt, and this should not influence

your decision in any way.       It is your duty to separately consider the

evidence that relates to each charge, and to return a separate

verdict for each one.      For each charge, you must decide whether the

government has presented proof beyond a reasonable doubt that the

defendant is guilty of that particular charge.



      Your decision on one charge, whether it is guilty or not guilty,

should not influence your decision on any of the other charges.




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                                        Counts No Longer Under Consideration



       At the beginning of the trial, I told you that the defendant was

accused of 20 different crimes: four counts of stealing, embezzling,

knowingly converting, obtaining by fraud and intentionally

misapplying property from an organization that receives federal

funds, and sixteen counts of wire fraud.         However, there are now

counts which are no longer before you. Those include:

            •   Counts 1 - 4, which include all of the crimes involving
                stealing, embezzling, knowingly converting, obtaining by
                fraud, and intentionally misapplying property from an
                organization that receives federal funds.
            •   Counts 5-10, which were wire fraud counts.
            •   Counts 13-17, which were also wire fraud counts.

       You are instructed that you should not guess about or concern

yourselves with the reason for these counts no longer being before

you.



       You are also instructed that you are not to assume that the

remaining counts are or are not meritorious.          The Government still

has the burden of proof to prove the remaining counts beyond a

reasonable doubt.     In deciding the remaining counts, you are hereby

instructed not to consider any of the evidence concerning counts that

are no longer before you.




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      I have stricken the testimony of the following witnesses, and I

am instructing you not to consider their testimony:

             •   Cesar Herrera
             •   Michael Yarbrough
             •   Nancy Alea
             •   Frank Cannata
             •   Cynthia Sipp
             •   Antoine Beane
             •   Daniel Foster
             •   Diana Jones
             •   Lauren Stamps
             •   Steve Edwards
             •   Woodson Farmer
             •   Lance Black
             •   Jack Gardner
             •   Imran Ahmed Siddiqui


      I have stricken the testimony of Victoria Howell with the

exception of the portions that relate to the two expenditures

contained in Counts 11 and 12, as well as her testimony on rebuttal.



      I have stricken the following exhibits from the record, and I am

instructing you not to consider them in reaching your decision in

this case:

             •   Exhibit   21-   Lowe’s Records
             •   Exhibit   22-   Grizzlies Records
             •   Exhibit   23-   Paypal Records
             •   Exhibit   24-   Paypal Records
             •   Exhibit   25-   Makin It Happen Home Records
             •   Exhibit   26-   American Airlines Records
             •   Exhibit   27-   Photos (of Celebrity Body Studio)


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            •   Exhibit   29-   Methodist FCU Records
            •   Exhibit   32-   Gossett Motors Records
            •   Exhibit   33-   Lexus of Memphis Records
            •   Exhibit   34-   Bill of Sale from Imports of Memphis
            •   Exhibit   35-   Gardner & Group Records
            •   Exhibit   36-   Tuscan Iron Entries Records
            •   Exhibit   39-   ADT Records
            •   Exhibit   40-   Ally Financial Records
            •   Exhibit   41-   Amazon Records
            •   Exhibit   42-   Pershing LLC Records
            •   Exhibit   43-   Best Buy Records
            •   Exhibit   44-   Bookit.com Records
            •   Exhibit   45-   Carnival Cruise Lines Records
            •   Exhibit   46-   Floor n Décor Records
            •   Exhibit   48-   Great Lakes Student Loans Records
            •   Exhibit   49-   Home Depot Records
            •   Exhibit   51-   MLGW Records
            •   Exhibit   52-   MMIC Records
            •   Exhibit   53-   One Main Financial Records
            •   Exhibit   54-   Shelby County Tax Sale Records
            •   Exhibit   55-   Slim Spa Records
            •   Exhibit   56-   Southern Snow Records
            •   Exhibit   57-   Surplus Warehouse Records
            •   Exhibit   58-   Tennessee Secretary of State Records
            •   Exhibit   59-   TPC Southwind Records
            •   Exhibit   60-   Uber Records
            •   Exhibit   61-   BSHR, PLLC
            •   Exhibit   63-   Summary of Personal Expenditures
            •   Exhibit   64-   Chart- Paypal Summary
            •   Exhibit   65-   Royston Photos




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                                          Redacted and Confidential Material



      We have, among the exhibits received in evidence, some documents

that are redacted.



      “Redacted” means that part of the document was taken out or

blacked out.     Material may be redacted for any number of reasons,

including that it is not relevant to the issues you must decide in

this case, among other reasons. You are to concern yourself only with

the part of the item that has been admitted into evidence. I instruct

you that the omitted portion of the material was appropriately

redacted, and you should not consider any possible reason for the

redactions.



      In addition, some of the evidence admitted into the record

includes sensitive personal information, including the names and

other identifying data of students at THI.          The confidentiality of

this information should be preserved.         Therefore, I instruct you that

you may consider all confidential material, including the student

records admitted into evidence, for the purpose of your

deliberations, but it may not be used for any other purpose.




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                                                                          7.02B
                                                          Defendant's Testimony




      You have heard the defendant testify. Earlier, I talked to you

about the "credibility" or the "believability" of the witnesses. And

I suggested some things for you to consider in evaluating each

witness's testimony.



      You should consider those same things in evaluating the

defendant's testimony.




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                                                     Law Enforcement Witnesses




      You have heard the testimony of law enforcement officials.             The

fact that a witness may be employed by the city, county, state, or

federal government as a law enforcement official does not mean that

his or her testimony is necessarily deserving of more or less

consideration or greater or lesser weight than that of an ordinary

witness.



      I suggested some things for you to consider in evaluating each

witness’s testimony.      You should consider those same things in

evaluating a law enforcement witness’s testimony.           It is your

decision, after reviewing all the evidence, whether to accept the

testimony of each law enforcement witness and to give to that

testimony whatever weight, if any, you find it deserves.




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                                                                      7.03
                             Witness Testifying to Both Facts and Opinions



      You have heard the testimony of Victoria Howell, who testified

to both facts and opinions. Each of these types of testimony should

be given the proper weight.



      As to the testimony on facts, consider the factors discussed

earlier in these instructions for weighing the credibility of

witnesses.



      As to the testimony on opinions, you do not have to accept Ms.

Howell’s opinion. In deciding how much weight to give it, you should

consider the witness's qualifications and how she reached her

conclusions along with the other factors discussed in these

instructions for weighing the credibility of witnesses.



      Remember that you alone decide how much of a witness's testimony

to believe, and how much weight it deserves.




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                                                                     7.12
                   Summaries And Other Materials Not Admitted in Evidence



      During the trial you have seen counsel use summaries, charts,

drawings, calculations, or similar material which were offered to

assist in the presentation and understanding of the evidence. This

material is not itself evidence and must not be considered as proof

of any facts.



                                                                     7.12A
                        Summaries And Other Materials Admitted in Evidence



      During the trial you have also seen or heard summary evidence in

the form of a chart, drawing, calculation, testimony, or similar

material. This summary was admitted in evidence, in addition to the

material it summarizes, because it may assist you in understanding

the evidence that has been presented.

      But the summary itself is not evidence of the material it

summarizes, and is only as valid and reliable as the underlying

material it summarizes.




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                                                                           (2.01)
                                                                     Introduction


      That concludes my instructions on some rules that you must use

in evaluating particular testimony and evidence in this case.              In a

moment, I will explain the elements of the crimes that the defendant

is accused of committing.



      But before I do that, I want to emphasize that the defendant is

only on trial for the particular crimes charged in the indictment.

Your job is limited to deciding whether the government has proved the

crimes charged.



       Also keep in mind that whether anyone else should be prosecuted

or convicted for this crime is not a proper matter for you to

consider.    The possible guilt of others is no defense to a criminal

charge.    Your job is to decide if the government has proved this

defendant guilty.     Do not let the possible guilt of others influence

your decision in any way.




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                                                                        (1.03)
                                                   Indictment, Not Guilty Plea


      I told you at the outset that this case was initiated through an

indictment.    An indictment is but a formal method of accusing the

defendant of a crime or crimes.        It includes the government's theory

of the case, and we will be going over in a few minutes the substance

of the indictment.      The indictment is not evidence of any kind

against an accused.



      The defendant has pleaded not guilty to the charges contained in

the indictment.     This plea puts in issue each of the essential

elements of the offenses as described in these instructions and

imposes upon the government the burden of establishing each of these

elements by proof beyond a reasonable doubt.




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                                                                        2.12
                                     Use of the Word “And” in the Indictment


      Although the indictment charges that the statutes were violated

by acts that are connected by the word “and,” it is sufficient if the

evidence establishes a violation of the statute by any one of the

acts charged.     Of course, this must be proved beyond a reasonable

doubt.




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                                                         Reading the Indictment



      I will read the redacted indictment to you so that you are well

aware of the charges made in the redacted indictment that are before

the jury.



      The indictment reads:



                               [Read indictment.]




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                                               The Indictment and the Statute

COUNTS 11, 12, 18, 19 and 20

                                18 U.S.C. § 1343
                                   WIRE FRAUD



      (1)   Counts 11, 12, 18, 19, and 20 of the indictment charge the

defendant with wire fraud.       For you to find the defendant guilty of

wire fraud, you must find that the government has proved each and

every one of the following elements beyond a reasonable doubt:



            (A)   First, that the defendant knowingly participated in,

devised, or intended to devise a scheme to defraud in order to

deprive another of money or property;



            (B)   Second, that the scheme included a material

misrepresentation or concealment of a material fact;



            (C)   Third, that the defendant had the intent to defraud;

and



            (D)   Fourth, that the defendant used wire, radio or

television communications or caused another to use wire, radio or

television communications in interstate commerce in furtherance of

the scheme.




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      (2)   Now I will give you more detailed instructions on some of

these terms.



            (A)   A “scheme to defraud” includes any plan or course of

action by which someone intends to deprive another of money or

property by means of false or fraudulent pretenses, representations,

or promises.



            (B)   The term “false or fraudulent pretenses,

representations or promises” means any false statements or assertions

that concern a material aspect of the matter in question, that were

either known to be untrue when made or made with reckless

indifference to their truth.       They include actual, direct false

statements as well as half-truths and the knowing concealment of

material facts.



            (C)   An act is “knowingly” done if done voluntarily and not

because of mistake or some other innocent reason.



            (D)   A misrepresentation or concealment is "material" if it

has a natural tendency to influence or is capable of influencing the

decision of a person of ordinary prudence and comprehension.




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            (E)   To act with “intent to defraud” means to act with an

intent to deceive or cheat for the purpose of depriving another of

money or property.



            (F)   To "cause" wire, radio or television communications to

be used is to do an act with knowledge that the use of the

communications will follow in the ordinary course of business or

where such use can reasonably be foreseen.



            (G)   The term "interstate commerce" includes wire, radio or

television communications which crossed a state line.



      (3)   It is not necessary that the government prove all of the

details alleged concerning the precise nature and purpose of the

scheme that the material transmitted by wire, radio or television

communications was itself false or fraudulent, that the alleged

scheme actually succeeded in defrauding anyone, that the use of the

wire, radio or television communications was intended as the specific

or exclusive means of accomplishing the alleged fraud, that someone

relied on the misrepresentation or false statement, or that the

defendant obtained money or property for their own benefit.



      (4)   If you are convinced that the government has proved all of

the elements, say so by returning a guilty verdict on this charge. If



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you have a reasonable doubt about any one of the elements, then you

must find the defendant not guilty of this charge.




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                                             Fraud-Good Faith Defense (10.04)



      (1)   The good faith of the defendant is a complete defense to

the charges of wire fraud contained in Counts 11, 12, 18, 19 and 20

of the indictment because good faith on the part of the defendant is,

simply, inconsistent with an intent to defraud.



      (2)   A person who acts, or causes another person to act, on a

belief or an opinion honestly held is not punishable under this

statute merely because the belief or opinion turns out to be

inaccurate, incorrect, or wrong. An honest mistake in judgment or an

honest error in management does not rise to the level of criminal

conduct.



      (3)   A defendant does not act in good faith if, even though she

honestly holds a certain opinion or belief, that defendant also

knowingly makes false or fraudulent pretenses, representations, or

promises to others.



      (4)   While the term good faith has no precise definition, it

encompasses, among other things, a belief or opinion honestly held,

an absence of malice or ill will, and an intention to avoid taking

unfair advantage of another.




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      (5)   The burden of proving good faith does not rest with the

defendant because the defendant does not have any obligation to prove

anything in this case. It is the government’s burden to prove to you,

beyond a reasonable doubt, that the defendant acted with an intent to

defraud.



      (6)   If the evidence in this case leaves you with a reasonable

doubt as to whether the defendant acted with an intent to defraud or

in good faith, you must acquit the defendant.




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                                                                         2.08
                                              Inferring Required Mental State



      Next, I want to explain something about proving a defendant’s

state of mind.



      Ordinarily, there is no way that a defendant’s state of mind can

be proved directly, because no one can read another person’s mind and

tell what that person is thinking.



      But, a defendant’s state of mind can be proved indirectly from

the surrounding circumstances.        This includes things like what the

defendant said, what the defendant did, how the defendant acted, and

any other facts or circumstances in evidence that show what was in

the defendant’s mind.



      You may also consider the natural and probable results of any

acts that the defendant knowingly did or did not do, and whether it

is reasonable to conclude that the defendant intended those results.

This, of course, is all for you to decide.




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                                                                             2.04
                                                                      On or About


      Next, I want to say a word about the date mentioned in the

indictment.



      The indictment alleges that the crimes happened “on or about”

the following dates: on June 3, 2016 as to Count 11, on June 21, 2016

as to Count 12, on July 30, 2017 as to Count 18, on August 8, 2018 as

to Count 19, and on August 10, 2019 as to Count 20.           The government

does not have to prove that the crime happened on those exact dates.

But the government must prove that the crime happened reasonably

close to those dates.




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                                                                             2.06
                                                                        Knowingly


      The word "knowingly," as that term is used from time to time in

these instructions, means that the act was done voluntarily and

intentionally and not because of mistake or accident.




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                                                                           Summary



      If you find that the government has proved beyond a reasonable

doubt each of the elements of the offense charged in the count you

are considering as set out under these instructions, then you must

return a verdict of guilty for that count.          If you find that the

government has not proved beyond a reasonable doubt each of the

elements of the offense charged in the count you are considering as

set out in these instructions, then you must return a verdict of not

guilty as to that count.




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                                                          (8.01, .03–.06, .08)
                                                    Deliberations and Verdicts


      That concludes the part of my instructions explaining the

elements, or parts, of the crimes that the defendant is accused of

committing.    Now let me finish up by explaining some things about

your deliberations in the jury room, and your possible verdicts.



      First, I caution you, members of the jury, that you are here to

determine from the evidence in this case whether the defendant is

guilty or not guilty of the crimes set out in the indictment.              The

defendant is on trial only for the specific offenses alleged in the

indictment.



      Also, the question of punishment should never be considered by

the jury in any way in deciding the case.          If the defendant is

convicted, the matter of punishment is for the court to determine.



      You are here to determine the guilt or innocence of the accused

defendant from the evidence in this case.          You are not called upon to

return a verdict as to the guilt or innocence of any other person or

persons.    You must determine whether or not the evidence in the case

convinces you beyond a reasonable doubt of the guilt of the accused

without regard to any belief you may have about the guilt or

innocence of any other person or persons.



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      Any verdict you reach in the jury room, whether guilty or not

guilty, must be unanimous.       In other words, to return a verdict you

must all agree.     Your deliberations will be secret; you will never

have to explain your verdict to anyone.



      It is your duty as jurors to discuss the case with one another

in an effort to reach agreement if you can do so.           Each of you must

decide the case for yourself, but only after full consideration of

the evidence with the other members of the jury.           While you are

discussing the case, do not hesitate to re-examine your own opinion

and change your mind if you become convinced that you were wrong.

But do not give up your honest beliefs solely because the others

think differently or merely to get the case over with.



      Remember, that in a very real way you are judges – judges of the

facts.




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      When you go to the jury room you should first select one of your

members to act as your presiding juror.         The presiding juror will

preside over your deliberations and will speak for you here in court.

Be sure to only discuss the case when everyone is present so everyone

can be part of all of the deliberations.



      A form of verdict has been prepared for your convenience.             The

verdict form will be placed in a folder and handed to you by the

Court Security Officer.      At any time that you are not deliberating

(i.e., when at lunch or during a break in deliberations), the folder

and verdict form should be delivered to the Court Security Officer

who will deliver it to the courtroom Deputy Clerk for safekeeping.



                            [READ VERDICT FORM]



      You will take the verdict form to the jury room and when you

have reached unanimous agreement you will have your presiding juror

fill in the verdict form, date and sign it, and then return to the

courtroom.




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      If you should desire to communicate with me at any time, please

write down your message or question and pass the note to the Court

Security Officer who will bring it to my attention.           I will then

respond as promptly as possible after conferring with counsel, either

in writing or by having you return to the courtroom so that I can

address you.     Please understand that I may only answer questions

about the law and I cannot answer questions about the evidence.              I

caution you, however, with regard to any message or question you

might send, that you should not tell me your numerical division at

the time.    In other words, do not tell me what the vote is.



      If you feel a need to see the exhibits which are not being sent

to you for further examination, advise the Court Security Officer and

I will take up your request at that time.



      Any questions about the process?




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      We will now hear closing arguments by counsel.



                             [Closing arguments.]



      You may now retire to begin your deliberations.              Remember to

only discuss the case when everyone is present, and your first order

of business is to choose a presiding juror.




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